                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                    Central Division

-------------------------------------------------------x
MICHAEL RYAN BURKE                                     :
                                                       :
         Plaintiff,                                    :
                                                       :
v.                                                     :   Case No.
                                                       :
                                                       :   TRIAL BY JURY
TASK & PURPOSE,                                        :   IS DEMANDED
RECURRENT VENTURES, INC.,                              :
ANDREW MILBURN                                         :
                                                       :
-and-                                                  :
                                                       :
THE MOZART GROUP, LLC                                  :
                                                       :
         Defendants.                                   :
-------------------------------------------------------x


                                       COMPLAINT
        Plaintiff, Michael Ryan Burke (“Burke” or “Plaintiff”), by counsel, pursuant to

Rule 3 of the Federal Rules of Civil Procedure (the “Rules”), files the following

Complaint against Defendants, Task & Purpose (“T&P”), Recurrent Ventures, Inc.

(“Recurrent”), Andrew Milburn (“Milburn”) and The Mozart Group, LLC (“Mozart

Group”), jointly and severally.

        Plaintiff seeks (a) special damages, presumed damages, actual damages and

punitive damages in a total sum of $25,000,000.00, (b) prejudgment interest on the

principal sum awarded by the Jury from April 2, 2022 to the date of Judgment, and (c)

court costs – arising out of Defendants’ defamation, intentional infliction of emotional

distress, and conspiracy.



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                                      I. PARTIES

       1.       Plaintiff, Michael Ryan Burke (“Burke” or “Plaintiff”), is a citizen of

Missouri. He lives in Columbia, Missouri. Burke is a veteran of the United States

Marine Corps, who honorably served his country in Iraq. Burke has no criminal history.

Burke is a private individual. Prior to publication of the false and defamatory statements

at issue in this action, Burke had an untarnished reputation.

       2.       T&P is an online publication that focuses on stories about military

members, veterans, war, and related topics. T&P is “enjoyed by millions of readers each

month.” [https://taskandpurpose.com/news/about-page/]. T&P is one of many online

“brands” owned, operated and sold in Missouri by Recurrent. Recurrent is a digital

media company incorporated in Delaware with its principal place of business in Miami,

Florida.    Recurrent’s various brands attract 60,000,000+ unique monthly visitors to

Recurrent’s various websites. Recurrent has 38,000,000 social media followers and

2,000,000 email subscribers. [https://recurrent.io/what-we-do/].

       3.       Milburn is a citizen of Wyoming.        Milburn operates Mozart Group.

Mozart Group is a limited liability whose sole member is Milburn. None of Mozart

Group’s members is a citizen of Missouri. The Mozart Group advertises that it trains,

advise and equips “territorial defense units” and provides “humanitarian extraction” and

other services in Ukraine. [https://www.themozartgroup.com/]. Milburn published the

statements at issue in this case as a means to raise funds for the newly-formed Mozart

Group. Based on his background and experience in the military, Milburn knew for

certain that the acts and events he described in the article and tweets at issue were

inherently improbable.




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                          II. JURISDICTION AND VENUE

       4.      The United States District Court for the Western District of Missouri has

subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332 (Diversity).

The parties are citizens of different States. There is complete diversity. The amount in

controversy exceeds the sum of $75,000, exclusive of interest and costs.

       5.      Defendants are subject to specific personal jurisdiction in Missouri. They

are subject to long-arm jurisdiction and have sufficient minimum contacts with Missouri

such that the exercise of personal jurisdiction over them comports with traditional notions

of fair play and substantial justice and is consistent with the Due Process Clause of the

United States Constitution. T&P and Recurrent sell magazines and have advertisers,

subscribers and social media followers in Missouri, and transact substantial business in

Missouri.   In this case, Defendants each willfully directed their conduct towards

Missouri, where they knew Burke would experience the most reputational harm.

       6.      Venue is proper in this Court pursuant to Title 18 U.S.C. §§ 1391(b)(2). A

substantial part of the events or omissions giving rise to Burke’s claims occurred in the

Western District of Missouri, where the Statements (identified below) were published and

where Plaintiff suffered injury. Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 776-777

(1984) (“[f]alse statements of fact harm both the subject of the falsehood and the readers

of the statement … The tort of libel is generally held to occur wherever the offending

material is circulated. Restatement (Second) of Torts § 577A, Comment a (1977)).

                     III. STATEMENT OF MATERIAL FACTS

       7.      On April 2, 2022, T&P/Recurrent published an online article written for

T&P/Recurrent by Milburn, entitled “Former US Marine accused of rape in Ukraine”




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(the “Article”).   In addition to the Internet [https://taskandpurpose.com/news/marine-

accused-rape-ukraine/], T&P/Recurrent and Milburn republished the Article via Twitter:

        https://twitter.com/TaskandPurpose/status/1510939068061868042;
        https://twitter.com/PaulSzoldra/status/1510460080851865600;
        https://twitter.com/andymilburn8/status/1510504673324769283.

        8.     The Article displays an old photograph of Burke in Iraq (2008). Burke is

incorrectly identified as “Ryan Michael Burke”. The Article and social media posts

contain the following false statements of fact and defamatory implications:

 No.    Defamatory Statement                 Published By    Published To     Date

 1      “A former U.S. Marine has been       T&P/            Subscribers/     04/02/2022
        accused of raping and beating an     Recurrent,      Readers
        American woman in Western            Milburn
        Ukraine”                                             Twitter
                                                             Facebook
                                                             LinkedIn

 2      “Ryan Michael Burke, 38, is          T&P/            Subscribers/     04/02/2022
        being sought by Ukrainian and        Recurrent       Readers
        Polish police after the woman        Milburn
        reported the alleged assault to                      Twitter
        authorities”                                         Facebook
                                                             LinkedIn

 3      “The woman, whose name is            T&P/            Subscribers/     04/02/2022
        being withheld to protect her        Recurrent       Readers
        privacy, had traveled from the       Milburn
        United States to Lviv, Ukraine, to                   Twitter
        volunteer as a medical worker.                       Facebook
        The woman reported to                                LinkedIn
        authorities that Burke, whom she
        recently met for the first time in
        Lviv, told her that he was
        working for Samaritan’s Purse …
        and that he had close links with
        local police — claims which have
        subsequently been disproven …
        He fled after the alleged assault
        and his whereabouts remain
        unknown”


                                   4
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No.    Defamatory Statement                 Published By   Published To   Date

4      “the victim crossed the border to   T&P/            Subscribers/   04/02/2022
       Poland to file charges, escorted by Recurrent       Readers
       an American journalist to whom      Milburn
       she had turned for help. Polish                     Twitter
       and Ukrainian police have issued                    Facebook
       a warrant for Burke’s arrest, and                   LinkedIn
       border security is on the lookout
       for him should he attempt to cross
       from Ukraine into Poland”

5      “Burke served with the Marine        T&P/           Subscribers/   04/02/2022
       Corps’ 4th Reconnaissance            Recurrent      Readers
       Battalion in San Antonio, Texas,     Milburn
       according to his LinkedIn profile”                  Twitter
                                                           Facebook
                                                           LinkedIn

6      “The woman is currently in           T&P/           Subscribers/   04/02/2022
       Poland receiving medical             Recurrent      Readers
       attention for injuries sustained     Milburn
       during the attack. The U.S.                         Twitter
       Embassy in Poland has been                          Facebook
       informed of the incident and is                     LinkedIn
       providing assistance. A State
       Department official confirmed
       they were aware of reports of
       such a case but “given privacy
       considerations [had] no details to
       confirm at this time”

7      “The Mozart Group is tracking        Milburn        Twitter        04/03/2022
       this guy down now through our
       network here in country. We
       believe that he is in Kyiv. If
       anyone knows who his
       companions might be, please IM
       me”

8      “[Has Interpol been notified?        Milburn        Twitter        04/03/2022
       Eventually he’s going to cross a
       border.] He already did – and yes
       but evidently to no effect”




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 No.    Defamatory Statement                   Published By   Published To      Date

 9      “A former U.S. Marine has been         Bill Kelly     Internet          04/06/2022
        accused of raping and beating an
        American woman in Western
        Ukraine.

        Ryan Michael Burke, 38, is being
        sought by Ukrainian and Polish
        police after the woman reported
        the alleged assault to authorities.
        The woman, whose name is being
        withheld to protect her privacy,
        had traveled from the United
        States to Lviv, Ukraine, to
        volunteer as a medical worker
        …

        It’s a disgusting situation, and I
        am hoping the authorities are
        successful in tracking this guy
        down and bringing him to justice”

 10     “Former marine accused of rape         900 CHML       Twitter           04/05/2022
        in #Ukraine”

 11     “It’s situations like this that        “Harry”        Twitter           04/05/2022
        attract people like flies to garbage
        … it’s a thing with war zones,
        there’s a center of chaos that you
        can just gravitate to. It pulls in
        the helpers but it also pulls in the
        parasites … Quite a good
        summation of Burke”

 12     “In Kyiv, Ukraine, a former U.S.       Inf.news.en    Internet          08/03/2022
        Marine has been charged with
        raping and beating a woman in
        western Ukraine, U.S. war
        correspondent Andrew Milburn
        reported on April 2”


In tweets that he later deleted, Milburn falsely stated or implied that Burke was a fugitive

from justice, who was being aided by “accomplices”, e.g.:


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                            8
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(each a “Statement”, and collectively, the “Statements”).

       9.      The Statements are materially false because:

       ●       The events never happened. The Statements are completely fabricated.

       ●       Burke did not rape or beat anyone while he was in Ukraine.

       ●       The “woman” never reported any assault to any “authorities”.

       ●       Burke has never been “sought by Ukrainian and Polish police”.

       ●       Burke never told the anonymous “woman” that he was working for
               Samaritan’s Purse 1 and had “close links with local police” — claims
               which have “subsequently been disproven”.

       ●       Burke did not flee “after the alleged assault”.

       ●       There was no “victim” and she/he/they never crossed the border to Poland
               to file “charges”.

       ●       No charges were ever filed anywhere.

       ●       Polish and Ukrainian police never issued a warrant for Burke’s arrest.

       ●       “[B]order security” was never on the “lookout” for Burke.

       ●       The anonymous “woman” did not sustain injuries in the fake “attack”.

       ●       The U.S. Embassy in Poland was never informed of “the incident” by
               anyone, and was never “providing assistance” to anyone.

       ●       No “State Department official” ever confirmed they were aware of reports
               of any “case”, and never provided any quote to T&P or Milburn.

       ●       Interpol was never notified by anyone.

       ●       No one hid Burke in a car. There were no “accomplices”.




       1
                Samaritan’s Purse is a well-known nondenominational evangelical
Christian organization that provides spiritual and physical aid to hurting people around
the world. Since early 2022, Samaritan’s Purse has provided food and non-food items to
suffering families in Ukraine while airlifting medical supplies into the country as fighting
rages on. [https://www.samaritanspurse.org/our-ministry/ukraine-response/].


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Comparing the false Statements to the truth, it is beyond peradventure that Defendants’

Statements are materially false. Compare Nunes v. W.P. Company, 2021 WL 3550896, at

* 4 (D. D.C. 2021) (“A reasonable juror could conclude that there is a material difference

between stating that Nunes had made a claim supported by evidence (that the Obama

administration had undertaken intelligence activities related to individuals involved in the

Trump campaign) and stating that Nunes had made a baseless claim (that the Obama

administration had wiretapped Trump Tower).           A reasonable juror could therefore

conclude that the article was materially false because it stated that Nunes had made such

a baseless claim (when he had not).”); see also Bustos v. A&E Networks, 646 F.3d 762,

767 (10th Cir. 2011) (Gorsuch, J.) (“Comparing the challenged defamatory statement

(membership in the Aryan Brotherhood) to the truth (conspiring with and aiding and

abetting the Aryan Brotherhood), we cannot see how any juror could find the difference

to be a material one—that is, likely to cause a reasonable member of the general public to

think significantly less favorably of Mr. Bustos”).

       10.     The scandalous Statements were immediately understood by readers to

convey a defamatory meaning about Burke and injure his reputation, see, e.g.:

       https://twitter.com/talktodenene/status/1511060266536026113
       (“Because pigs like this know in chaos they’ve got more opportunities to brutalize
       and hurt people. Some people really need dead”);

       https://twitter.com/OShirleyUjest/status/1511084389115080709
       (“Hunt his ass down and do what needs to be done!”);

       https://twitter.com/MicheleCochrane/status/1511307036096667652
       (“Let’s hope a Ukrainian solider confuses him with a Russian solider, and takes
       care of business”);

       https://twitter.com/12_07_1961/status/1511312801641508869
       (“Men and their fu(king cocks”);




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  https://twitter.com/nedski5585/status/1511293479439187969
  (“F-Ing animal”);

  https://twitter.com/KathyHowellITCC/status/1511299923412717581
  (“The victim is American”);

  https://twitter.com/JoanMBrenner1/status/1510461430692294657
  (“Absolutely horrific. What a disgrace”);

  https://twitter.com/ClaudetteGGibs1/status/1510614036500541442
  (“This is atrocious, hope they cath him soon”);

  https://twitter.com/riverarose23/status/1510689767746420738
  (“If guilty, castration should be the consequence”);

  https://twitter.com/cxcruz1/status/1510662367171923968
  (“Shame on you, a surgical castration, could help this guy, with his problems”);

  https://twitter.com/WillowT62269933/status/1510651189418995718
  (“There is a code of ethics and this kind of behavior is forbidden!”);

  https://twitter.com/apKRIHgtSpUZpdY/status/1514115601630961666
  (“Had not Ukraine collected all the scum of the world?”);

  https://twitter.com/GoodTrumps/status/1510615205163646977
  (“RT and let’s get this scum bag”);

  https://twitter.com/IanECox/status/1510615752939876359
  (“Keep an eye out for this guy and spread the word among your contacts. We
  gotta hold our own accountable”);

  https://twitter.com/matthew_esmar/status/1510621804359991303
  (“where is he gonna go? he isnt gonna stay in ukraine cause well he will probably
  get killed and they chalk it up to russians killing him in combat. hes wanted in
  poland and will surely be wanted in the us and most friemdly [sic] countries will
  send him to america in cuffs”);

  https://twitter.com/elenaevdokimov7/status/1545051402107777024
  (“A former US Marine accused of rape in Ukraine The woman is currently in
  Poland receiving medical attention for injuries sustained during the attack. The
  Marine has fled”);

  https://twitter.com/sethharpesq/status/1544462240786571264
  (“Here’s another photo of Ryan Burke, who went on the lam in Ukraine after
  being accused of rape”);




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       https://twitter.com/doyaksec/status/1544805668305215488
       (“Ryan #Burke, former #marine, wanted for #rape”).

Leslie (Efron) Platt, a special projects administrator at the Columbia Eye Clinic in South

Carolina, republished the Article on her LinkedIn page with the following comment:




       11.    The Article and social media posts shamelessly promoted Milburn’s

company, Mozart Group. Indeed, within 24 hours of publication of the Article, Milburn

had raised $20,000 on PayPal, largely from people who, unknowingly, wanted revenge

for the heinous crimes that Milburn manufactured.

       12.    Prior to publication, T&P/Recurrent, Milburn and Mozart Group knew the

Statements were false and/or had a serious doubt as to the truth of the Statements and,

therefore, acted with reckless disregard for the truth. Milburn is a retired Marine Corps



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Colonel with a 31-year career as an infantry and special operations officer. He knew (and

tweeted) that Burke had crossed an international border, but was not arrested

[https://twitter.com/andymilburn8/status/1510691599411515394], making the entire story

inherently improbable. St. Amant v. Thompson, 390 U.S. 727, 732 (1968) (“Professions

of good faith will be unlikely to prove persuasive, for example, where a story is

fabricated by the defendant [or] is the product of his imagination … Nor will they be

likely to prevail when the publisher’s allegations are so inherently improbable that only a

reckless man would have put them in circulation. Likewise, recklessness may be found

where there are obvious reasons to doubt the veracity of the informant or the accuracy of

his reports.); Celle v. Filipino Reporter Enters., Inc., 209 F.3d 163, 183 (2nd Cir. 2000)

(in assessing a defendant’s subjective doubts as to the truth of his publications, the Court

may look at “the defendant’s own actions or statements [and] the inherent improbability

of the story.”) (quoting Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287, 1293

(D.C Cir. 1988)). Prior to publication, Milburn, Mozart Group, and T&P/Recurrent knew

that it was impossible for Burke to cross international borders and/or to get back into the

United States if there were international warrants for his arrest and Interpol was notified.

The falsity of the Statements was obvious, especially to someone with T&P and

Milburn’s background and training. Further, prior to publication, T&P/Recurrent and

Milburn made no contact with law enforcement in any country to corroborate the

fictitious facts, and did not have in their possession any criminal complaint or the alleged

warrants. T&P/Recurrent and Milburn engaged in the purposeful avoidance of the truth.

Harte-Hanks Communications, Inc. v. Connaughton, 491 U.S. 657, 682, 692 (1989) (a

clear evasion from the truth and the failure to interview an important witness, who was




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easily accessible, supports a finding of actual malice) (citing Curtis Publishing Co. v.

Butts, 388 U.S. 130, 157 (1967) (“Although there was reason to question the informant’s

veracity, just as there was reason to doubt Thompson’s story, the editors did not interview

a witness who had the same access to the facts as the informant and did not look at films

that revealed what actually happened at the game in question.”)).

       13.     Milburn conducted opposition research on Burke prior to publication, and

learned (a) that Burke lived in Missouri and held a security clearance with the

Department of Defense and a Secret security clearance with the State Department, (b)

that he was honorably discharged from the Marine Corps, and (c) that he was a

humanitarian with no criminal history. Burke did not fit any profile of a person likely to

commit rape, putting Milburn on notice that the story was fake and/or Russian

disinformation. In spite of serious doubts as to the veracity of the anonymous source and

the story, T&P/Recurrent and Milburn published the story anyway, knowing that the

Statements were highly likely to cause Burke permanent injury.

       14.     T&P/Recurrent and Milburn’s false and defamatory Statements caused

Burke to be hunted by Milburn and Mozart Group’s network of mercenaries in Ukraine.

Milburn instigated the hunt. He made it known that the Mozart Group was after Burke.

As a direct result of Milburn’s actions, Burke suffered extreme and continuous fear of

death, stress and anxiety. Burke constantly fears that he will be assassinated. Publication

of the false and defamatory Statements also caused Burke to lose employment and

income, 2 and to suffer career damage, loss of future earnings capacity and actual



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               In July 2022, Burke’s employer in Missouri who read the Article
confirmed that “[d]irectly because of this article, I was asked to replace Mr. Burke as a
security contractor.”


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damages,      including   psychological   or   emotional   distress,   depression,   insult,

embarrassment, humiliation, mental anguish, and injury to Burke’s otherwise untarnished

reputation.

       15.      In the interest of clearing his name and mitigating the damage caused by

T&P/Recurrent, Milburn and Mozart Group, Burke reached out to the U.S. Embassy in

Poland and the Federal Bureau of Investigation (“FBI”). Burke was also interviewed by

Customs and Border Patrol (“CBP”) upon his entry into the United States. Suffice it to

say, there is not a shred of evidence to support Defendants’ false and defamatory

Statements. The story is completely fake.

                              COUNT I – DEFAMATION

       16.      Plaintiff restates paragraphs 1 through 15 of this Complaint, and

incorporates them herein by reference.

       17.      T&P/Recurrent, Milburn and Mozart Group 3 made, published and

republished in Missouri numerous false factual Statements of and concerning Burke.

These false Statements are detailed verbatim above. The Defendants published the false

Statements without privilege of any kind.

       18.      The Statements are defamatory. The Statements expose Burke to public

hatred, contempt, and ridicule, and render him odious and infamous in the eyes of the

community.      The Statements accuse and impute to Burke (a) one or more crimes,

including rape and sexual assault, and (b) an unfitness to perform the duties of an office

or employment for profit, including immorality, lack of ethics, lack of integrity, lack of


       3
              Milburn published the Statements in the Article and on Twitter in
furtherance of the business of Mozart Group, and with express authority of Mozart
Group. Milburn solicited members of Mozart Group and others and engaged them to
hunt down Burke. Mozart Group is liable for Milburn’s defamation and misconduct.


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veracity, deception and criminality, and (c) the Statements prejudice Burke in his

profession and occupation as a security contractor and humanitarian aid professional.

       19.     By publishing the Statements extensively to T&P/Recurrent’s subscribers

and readers in Missouri and elsewhere and by tweeting the Statements to their followers,

T&P/Recurrent, Milburn and Mozart Group knew that Burke would suffer harm in

Missouri and knew or should have known that the Statements would be republished over

and over by third-parties in Missouri to Burke’s detriment. Republication by Defendants’

subscribers, viewers, followers, users of Twitter and other third parties was the natural,

foreseeable and probable consequence of Defendants’ actions and was actually and/or

presumptively authorized by Defendants.      In addition to their original publications,

Defendants are liable for the millions of third-party republications of the false and

defamatory Statements under the republication rule.

       20.     T&P/Recurrent, Milburn and Mozart Group’s false and defamatory

Statements harmed Burke and his reputation, causing special damages, presumed

damages and actual damages.

       21.     Prior to filing this action, Burke served on T&P/Recurrent and Milburn a

written notice specifying the Statements that are defamatory and demanding, inter alia,

that those statements be retracted and/or corrected and removed from the Internet and

social media. T&P/Recurrent and Milburn ignored Burke’s notice, and refused retract

and correct the false and defamatory Statements.

       22.     T&P/Recurrent, Milburn and Mozart Group published the false and

defamatory Statements with actual knowledge that they were false or with reckless




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disregard for whether they were false. T&P/Recurrent, Milburn and Mozart Group acted

with actual malice for the following reasons:

               a.     T&P/Recurrent, Milburn and Mozart Group fabricated the

Statements. The events described by Defendants never occurred. The Statements are a

product of Defendants’ imagination, made up out of whole cloth in order to impute

crimes and intentional wrongdoing to Burke and promote the business of Mozart Group.

               b.     T&P/Recurrent, Milburn and Mozart Group relied on an

anonymous source who was completely unreliable.

               c.     Prior to publication, T&P/Recurrent, Milburn and Mozart Group

knew that the story was inherently improbable. US Dominion, Inc. v. Powell, 554

F.Supp.3d 42, 63 (D. D.C. 2021) (“a reasonable juror could conclude that the existence of

a vast international conspiracy that is ignored by the government but proven by a

spreadsheet on an internet blog is so inherently improbable that only a reckless man

would believe it.”); Butowsky v. Folkenflik, 2019 WL 3712026, at * 11 (E.D. Tex. 2019)

(“Folkenflik departed from journalistic standards and repeated words and phrases that he

knew were false or inherently improbable – phrases such as ‘Russian collusion’.

Folkenflik abandoned common sense. The suggestion that the President of the United

States and/or the ‘Russians’ (Vladimir Putin) would have colluded with Butowsky – a

person unknown to either the President or Putin and with whom neither the President nor

Putin has ever communicated – is preposterous.”).

               d.     T&P/Recurrent, Milburn and Mozart Group purposefully evaded

the truth. They chose not to investigate the scandalous and salacious allegations, even

though they knew the permanent harm to Burke that would be caused by publication.




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               e.      T&P/Recurrent, Milburn and Mozart Group had a pre-determined

agenda, their commitment to which led them to publish the Statements about Burke that

they either knew to be false or that they published with reckless disregard as to whether

the Statements were false. Palin v. New York Times Company, 940 F.3d 804, 813 (2nd

Cir. 2019); Speed v. Northwest Airline, Inc., 2000 WL 34030833, at * 8 (N.D. Iowa.

2000) (overruling defendant’s motion to dismiss under Rule 12(b)(6), where the

statements, viewed in the light most favorable to the plaintiff, “were made with malice in

that Defendants' intent was to inhibit [plaintiff] from pursuing legal action”).

               f.      T&P/Recurrent,     Milburn     and   Mozart     Group       intentionally

abandoned all journalistic standards and integrity in publishing and republishing the

Statements. Curtis Pub. Co., 388 U.S. at 161 (“Where a publisher’s departure from

standards of press responsibility is severe enough to strip from him the constitutional

protection our decision acknowledges, we think it entirely proper for the State to act not

only for the protection of the individual injured but to safeguard all those similarly

situated against like abuse”). They did not seek the truth or report it. They betrayed the

truth for the sake of their institutional bias against Plaintiff and ratings. Rather than

minimize harm, T&P/Recurrent, Milburn and Mozart Group set out to inflict maximum

pain and suffering on Burke in order to harm Burke’s reputation.             T&P/Recurrent,

Milburn and Mozart Group published the Statements in the broadest manner possible, to

Internet and social media audiences, for the sole purpose of injuring Burke’s reputation,

and generating income for Mozart Group.           As a sure sign of their actual malice,

T&P/Recurrent, Milburn and Mozart Group did not even bother to contact Burke for

comment prior to publication. Project Veritas v. New York Times, Case 63921/2020




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(Westchester County Mar. 18, 2021) (Opinion & Order, p. 13) (one of the reasons the

New York Times was guilty of actual malice was that it intentionally declined to seek

comment from the plaintiff prior to publication, which “blatantly violated NYT’s own

published policies and ethical guidelines”.).

       23.     As a direct result of Defendants’ defamation, Burke suffered special

damages, presumed damages and actual damages in the sum of $25,000,000.00.

    COUNT II – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       24.     Plaintiff restates paragraphs 1 through 23 of this Complaint, and

incorporates them herein by reference.

       25.     Colonel Milburn and Mozart Group put out orders to mercenaries in

Ukraine to hunt Burke.      Milburn and Mozart Group, with the specific purpose of

inflicting emotional distress upon Burke, confirmed on Twitter that they were, in fact,

actively conducting an intelligence operation, including that they were “tracking” Burke

and “in pursuit”. Milburn and Mozart Group’s conduct was intentional and/or reckless,

concerted, criminal and deliberately violative of Missouri law. Milburn and Mozart

Group engaged in a series acts that, taken together, constitute extreme and outrageous

behavior. The Defendants knowingly and purposefully initiated a campaign to hunt

Burke. The Defendants’ criminal conduct was flagrant and heartless. Rich v. Fox News

Network, LLC, 939 F.3d 112, 122-123 (2nd Cir. 2019) (plaintiffs stated a claim of

intentional infliction of emotional distress, where, taken together, the defendants’ acts

“might amount to a deliberate and malicious campaign of harassment” and where,

alternatively, plaintiffs alleged that the defendants knew of plaintiff’s susceptibility to

emotional distress and “chose to proceed with their plan in spite of that knowledge”).




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       26.     Milburn and Mozart Group’s actions are so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community. Milburn and Mozart Group’s

conduct falls evenly within Missouri’s definition of outrageous conduct.

       27.     Milburn and Mozart Group’s outrageous, malicious and vindictive

conduct caused Burke to suffer severe emotional distress, depression, extreme fear,

including fear he would be assassinated, fear that he would be kidnapped by Milburn’s

mercenaries and disappear, never to see his family again, fear of prosecution and prison,

sleeplessness, and constant panic. Burke’s extreme emotional distress inflicted upon him

by Defendants is both causally and directly connected to Defendants’ actions. Burke’s

injuries arise out of a targeted campaign by Colonel Milburn and Mozart Group to inflict

personal harm. Burke suffers Post Traumatic Stress Disorder (“PTSD”) as a result of

Milburn and Mozart Group’s actions. He is in fear whenever he goes outside. Milburn

and Mozart Group’s actions have impacted Burke’s work and his interpersonal

relationships. The tweets severely traumatized Burke. To date, he consumes his fear and

intense anger on a daily basis, and suffers from disabling headaches, nightmares,

flashbacks, extreme stress and fear.

       28.     Milburn and Mozart Group’s misconduct constitutes intentional infliction

of emotional distress.

       29.     As a direct result of Milburn and Mozart Group’s intentional inflectional

of emotional distress, Burke suffered special damages and actual damages in the sum of

$25,000,000.00.




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                   COUNT III – COMMON LAW CONSPIRACY

       30.     Plaintiff restates paragraphs 1 through 29 of this Complaint, and

incorporates them herein by reference.

       31.     Beginning in April 2022 and continuing through the present, Milburn

agreed, combined, associated, or acted in concert with others (including the persons with

whom Milburn communicated in Milburn’s now deleted tweets) for the express purpose

of injuring Burke. Milburn used his Mozart Group cell phone and social media to

communicate orders to his co-conspirators and to obtain situation reports from the

military contractors hired to track Burke. Milburn and his confederates pursued the

common goal of hunting, locating and harming Burke.

       32.     Milburn acted intentionally, purposefully, without lawful justification, and

with the express intent to harm Burke.

       33.     Milburn’s actions constitute a common law conspiracy to commit the

crimes of assault and battery.

       34.     As a direct result of Milburn’s conspiracy, Burke suffered actual damages

in the amount of $25,000,000.00.



       Plaintiff alleges the foregoing based upon personal knowledge, public statements

of others, and records in his possession. Plaintiff believes that substantial additional

evidentiary support, which is in the exclusive possession of T&P/Recurrent, Milburn and

Mozart Group, their agents and other third-parties, will exist for the allegations and

claims set forth above after a reasonable opportunity for discovery.




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       Plaintiff reserves his right to amend this Complaint upon discovery of additional

instances of Defendants’ wrongdoing.



                  CONCLUSION AND REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court to enter Judgment against

T&P/Recurrent, Milburn and Mozart Group, jointly and severally, as follows:

       A.     Compensatory damages in the amount of $25,000,000.00;

       B.     Punitive damages in the amount of $25,000,000.00;

       C.     Prejudgment interest on the principal sum awarded by the Jury at the

maximum rate allowed by law;

       D.     Postjudgment interest at the maximum rate allowed by law;

       E.     Costs and other recoverable amounts as allowed by law;

       F.     Such other relief as is just and proper.


                         TRIAL BY JURY IS DEMANDED



DATED:        October 4, 2022



                           Signature of Counsel on Next Page




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                   MICHAEL RYAN BURKE



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